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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )           Case No. 8:04CR332
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )                   ORDER
                                             )
LORA KEMPTAR,                                )
                                             )
                     Defendant.              )



       The defendant, by and through her counsel of record, Michael J. Tasset, has moved

the court to allow the defendant to extend her reporting date to the Bureau of Prisons.

Filing No. 45. After considering the matter, the court shall grant the motion in part and

allow the defendant a one-week extension to self-surrender to the Bureau of Prisons.

       IT IS HEREBY ORDERED that the defendant’s motion to extend date, Filing No. 45,

is granted in part, and the defendant shall report to the facility designated by the Bureau

of Prisons on November 8, 2005.

       DATED this 1st day of November, 2005.


                                                   BY THE COURT:



                                                   s/Joseph F. Bataillon
                                                   UNITED STATES DISTRICT COURT
